Case: 4:25-cv-00894-MTS   Doc. #: 1-3   Filed: 06/18/25   Page: 1 of 31 PageID #: 7




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                                                                           2522-CC00728

                              MISSOURI CIRCUIT COURT
                          TWENTY-SECOND JUDICIAL CIRCUIT
                            ST. LOUIS CITY CIRCUIT CLERK


 MARY PITTS                                         Case No.

      Plaintiff                                     Div.

 v.                                                 JURY TRIAL DEMANDED

 SSM HEALTH SAINT LOUIS
 UNIVERSITY HOSPITAL

      Serve at:

      Manager on Duty
      1201 S. Grand Blvd.,
      St. Louis, MO 63104

      Defendant


                                          PETITION

        COMES NOW Plaintiff Mary Pitts by and through her undersigned attorney,

for her Petition states as follows:

            1. Plaintiff Mary Pitts (Plaintiff Pitts”) is a resident of St. Charles County.

            2. Defendant SSM Health Saint Louis University Hospital (“Defendant

                  SLU Hospital”) is a hospital located in St Louis City.

            3. Venue and subject matter jurisdiction are proper because the injury in

                  question occurred in St. Louis City.




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                          Facts Applicable to All Counts

         4. Plaintiff Pitts has been an employee of SLU Hospital since June 10, 2019

             and has worked in healthcare for over 35 years. Her hourly wage at SLU

             Hospital was $17-23.

         5. Overtime, Plaintiff Pitts began experiencing chronic and debilitating

             left knee pain.

         6. Plaintiff Pitts underwent medical leave on or around November 17, 2021

             for a total knee replacement.

         7. On or around November 28, 2022, Plaintiff Pitts exhausted her FMLA,

             Extended Leave, or LOA as an accommodation.

         8. On or around April 12, 2023, Pitts received the following email and letter

             from Human Resources Business Partner Rex Gould:

             This letter is in follow up to the Leave Exhaustion notice
             sent on November 28, 2022 from Rex Gould-Human
             Resources Partner, which notified you that you had
             exhausted the available leave options (FMLA, Extended
             Leave, or LOA as an Accommodation) and asking you
             contact Human Resources no later than December 05, 2022
             to discuss your employment status. You have not returned
             to work, nor have you contacted your Leader or Human
             Resources to provide an update regarding your return -to-
             work status. The Leave Exhaustion notice informed you that
             your job was no longer protected beyond the date of
             exhaustion, November 15, 2022. Notedly, as of April 12,
             2023, you are not on an approved leave of absence, nor have
             you returned to work or contacted Human Resources or your
             leader. Your employment with SSM Saint Louis University
             Hospital will be terminated effective immediately.

See Exhibit 1, Rex Gould Letter – April 12, 2023.




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         9. On June 2, 2023, a subsequent email and letter from Gould was sent to

            Pitts, indicating that the April 12, 2023 correspondence was in error.

            However, she was informed that she needed to contact Gould by June 9,

            2023 to discuss her employment status and to provide contact

            information for the person(s) with whom she was working with

            regarding leave of absence approval. See Exhibit 2, Rex Gould Email –

            June 2, 2023.

         10. Pitts did provide him the following documentation via email on or

            around June 2, 2023 and via certified mail on or around June 5, 2023.

            See Exhibit 3, Documentation Submitted.

         11. Furthermore, Pitts sent over two medical provider confirmation letters

            signed by Amy M. Buck, NP on June 9, 2023 and July 6, 2023. Both

            letters stated the following:

            Mary Veronica Pitts was seen by AMY M. BUCK, NP at
            HSHS MEDICAL GROUP FAMILY AND SPORTS
            MEDICINE – O’FALLON . . . to discuss her chronic health
            issues and including her chronic left knee pain. I am
            working with her to rectify her situation related to her
            chronic knee pain and decreased mobility. This includes
            more intense physical therapy, and seeing an orthopedic at
            Washington University Hospital. I do not expect her to
            return to work while we are working on the above. I will see
            her back in the clinic in August to further evaluate her
            progress and develop a further plan.

See Exhibit 4, Amy M. Buck Letters.

         12. Shortly after June 9, 2023, Plaintiff Pitts followed up via phone call or

            email multiple times to confirm whether Gould received her



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             documentation. Pitts also hand-delivered the documents to Gould as

             well.

         13. On July 21, 2023, Plaintiff Pitts received the following email from Rex

             Gould:

             As you have been previously informed, all of your available
             leave options were exhausted effective November 15, 2022,
             as such, your employment was not protected beyond that
             date. On or about June 09, 2023, you were asked to provide
             complete contact information for any individuals who could
             provide information regarding work restrictions that may
             be required for your return to work. To date you have not
             provided the requested complete contact information.
             Therefore, your employment with SSM Saint Louis
             University Hospital is being terminated effective July 19,
             2023.

See Exhibit 5, Rex Gould Letter, July 21, 2023.

         14. Plaintiff Pitts dual filed her Charge of Discrimination with the Missouri

             Commission on Human Rights (MCHR) and the Equal Employment

             Opportunity Commission (EEOC) on January 16, 2024. See Exhibit 6,

             Charge of Discrimination

         15. Plaintiff Pitts obtained the Right to Sue on January 21, 2025. See

             Exhibit 7, Right to Sue Letter.

         COUNT I – AMERICAN’S WITH DISABILITIES ACT (ADA)
       DISABILITY DISCRIMINATION: WRONGFUL TERMINATION

      COMES NOW Plaintiff Pitts, and for her claim of disability discrimination

against Defendant SLU Hospital, states as follows:

         16. Plaintiff Pitts adopts and reincorporates the above paragraphs as

             though fully set forth herein.


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         17. Plaintiff Pitts, is a member of a protected class on the basis of her

            disability.

         18. Plaintiff Pitts is an individual with a physical or mental impairment

            that substantially limits one or more of that person's major life

            activities, an individual who has a record of such an impairment, or an

            individual who is regarded as having such an impairment.

         19. Plaintiff Pitts is a qualified individual under the ADA.

         20. Defendant SLU Hospital received Plaintiff Pitts’ work restrictions and

            refused to accommodate Plaintiff’s disability by terminating her

            employment.

         21. Plaintiff Pitts suffered an adverse employment action by Defendant

            SLU Hospital because of her disability.

         22. As a direct and proximate result of Defendant SLU Hospital’s actions

            and/or omissions, Plaintiff Pitts has been, and continues to be, deprived

            of monetary and non-monetary benefits.

         23. As a direct and proximate result of Defendant SLU Hospital’s actions

            and/or omissions, Plaintiff Pitts has suffered, and continues to suffer

            emotional distress and other non-medical bill-related compensatory

            damages.

      WHEREFORE Plaintiff Pitts requests humbly that the Court enter judgment

in her favor in excess of $25,000.00, and set the case for trial by jury to assess

compensatory damages arising from the discriminatory conduct of Defendant SLU



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Hospital for attorney’s fees and for any other relief as may be just and proper under

the circumstances.



                                               Respectfully submitted,

                                               OTT LAW FIRM

                                               /s/ Mark Edward Blankenship Jr.
                                               Joseph A. Ott, #67889
                                               Mark E. Blankenship Jr., #73123
                                               3544 Oxford Blvd
                                               Maplewood, MO 63143
                                               Telephone: (314) 293-3756
                                               Facsimile: (314) 689-0080
                                               joe@ott.law
                                               mark@ott.law
                                               Attorneys for Plaintiff




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                                                                                              Through our exceptional
                                                                                              health care services,
                                                                                              we reveal the healing
SSMHealth .                                                                                   presence of God .


Saint Louis University Hospital
1201 S. Grand Blvd.
St. Louis, MO 63104
phone: 314-257-2356




Sent Via Email & U.S. Mail


April 12 , 2023


Mary Pitts
1932 Sidney Street
Apartment A
St. Louis , MO 63104


jonnie.mitchell4@gmail.com


Re : LOA Exhaustion and Employment Status


Dear Mary,


This letter is in follow up to the Leave Exhaustion notice sent on November 28, 2022 from Rex
Gould- Human Resources Partner, which notified you that you had exhausted the available
leave options ( FMLA, Extended Leave, or LOA as an Accommodation ) and asking you contact
Human Resources no later than December 05, 2022 to discuss your employment status . You
have not returned to work, nor have you contacted your Leader or Human Resources to provide
an update regarding your return -to-work status.


The Leave Exhaustion notice informed you that your job was no longer protected beyond the
date of exhaustion , November 15 , 2022. Notedly , as of April 12 , 2023, you are not on an
approved leave of absence , nor have you returned to work or contacted Human Resources or
your leader. Your employment with SSM Saint Louis University Hospital will be terminated
effective immediately.


If you should have any questions or concerns , please do not hesitate to contact the undersigned .


Sincerely,
‫ہو‬
75.0
Rex Gould
Human Resources Business Partner
SSM Health Saint Louis University Hospital
314-257-2343
Rex.gould@ssmhealth.com
                                                                                                                                    Electronically Filed - CITY OF ST LOUIS - April 21, 2025 - 03:38 PM
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             SSMHealth .                                                                          presence of God .


         Saint Louis University Hospital
         1201 S. Grand Blvd.
         St. Louis , MO 63104
         phone: 314-257-2356




SENT VIA EMAIL AND REGISTERED MAIL


June 2 , 2023


Mary Pitts
1932 Sidney Street
Apartment A
St. Louis , MO 63104
jonnie.mitchell4@gmail.com


Re: LOA Exhaustion and Employment Status


Dear Mary,


On or about April 12 , 2023, you were in receipt of a letter terminating your employment . Upon further review , the
correspondence you received was in error .      Please disregard the email communication and letter you received dated April 12,
2023, regarding your employment.


Hi owever, please be aware all of your available leave options were exhausted effective November 15 , 2022 , as such , your

employment is not protected past that date . Recall, you spoke with Chelsea Brothers, Human Resources Business Partner on
November 18, 2022 , at which time you requested a new return to work date of May 2023. Subsequently, you were notified of
your leave exhaustion via correspondence dated November 28, 2022 , and were given a deadline of December 5 , 2022, to
discuss your employment status . At that time, you failed to contact the Hospital regarding your employment.


In a telephone conversation with Rex Gould on or about April 14, 2023, you communicated you were approved to return to
work with restrictions . As a result, you were asked to provide contact information for the person (s ) with whom you were
working with regarding leave of absence approval during that conversation . To date, you have failed to provide any
information in this regard .


It is imperative that we speak with you regarding your work status, as you have exhausted all available leave options (FMLA,
SSM's Extended FMLA, or LOA as an Accommodation ) and have not returned to work. Please contact me directly via email or
via phone no later than 3:00 p.m. on Friday , June 9th to discuss your employment status . If I do not hear from you on or before
June 9th, your employment with SSM Saint Louis University Hospital will be terminated pursuant to Article 4.A.3 of the SEIU
collective bargaining agreement.


If you should have any questions or concerns, please do not hesitate to contact me .


Sincerely,
        tulad
 ‫ يجية‬rely
Rex Gould
Human Resources Business Partner
SSM Health - St. Louis University Hospital
Rex.gould@ssmhealth.com
314-257-2343
                                                                                                                                Electronically Filed - CITY OF ST LOUIS - April 21, 202
 SENDER : COMPLETE THIS SECTION                              COMPLETE THIS SECTION ON DELIVERY
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    Complete items 1 , 2, and 3.
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                                                           16 Signature
    Print your name and address on the reverse                                                                        Agent
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    so that we can return the card to you.                      NSHIPant
    Attach this card to the back of the mailpiece,            B. Received by (Printed Name)                   C. Date of Delivery
    or on the front if space permits.
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 St.Louis, MO 63104




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  Mary Veronica Pitts
  2/10/1961




                                      HSHS Medical Group

                           &


                   HSHS Medical Group Family and Sports Medicine - O'Fallon
                                      670 Pierce Blvd
                                    O'Fallon IL 62269-1953
                                         618-206-2070
                                      AMY M BUCK, NP


  7/6/2023



  To Whom It May Concern :


  Mary Veronica Pitts was seen by AMY M BUCK, NP at HSHS MEDICAL GROUP
  FAMILY AND SPORTS MEDICINE - O'FALLON on 7/6/2023 to discuss her chronic
  health issues and including her chronic left knee pain . I am working with her to rectify her
  situation related to her chronic knee pain and decreased mobility . This includes more
  intense physical therapy, and seeing an orthopedic at Washington University Hospital .
  I do not expect her to return to work while we are working on the above.
  I will see her back in the clinic in August to further evaluate her progress and develop a
  further plan .



                                                                  24
  Sincerely,




  AMY M BUCKN
                                     z


  HSHS MEDICAL GROUP FAMILY AND SPORTS MEDICINE                        O'FALLON
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  Mary Veronica Pitts
  2/10/1961




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                                      HSHS' Medical Group




                   HSHS Medical Group Family and Sports Medicine - O'Fallon
                                       670 Pierce Blvd
                                  O ' Fallon IL 62269-1953
                                         618-206-2070
                                      AMY M BUCK, NP


  6/9/2023




  To Whom It May Concern :


  Mary Veronica Pitts was seen by AMY M BUCK, NP at HSHS MEDICAL GROUP
  FAMILY AND SPORTS MEDICINE - O'FALLON on 6/9/2023 to discuss her chronic
  health issues and including her chronic left knee pain . I am working with her to rectify her
  situation related to her chronic knee pain and decreased mobility . This includes more
  intense physical therapy , finding a second opinion surgeon that will give her options to
  help her knee .
  I do not expect her to return to work while we are working on the above.
  I will see her back in the clinic in August to further evaluate her progress and develop a
  further plan .



  Sincerely,




  AMY M BUCK , NP



  HSHS MEDICAL GROUP FAMILY AND SPORTS MEDICINE - O'FALLON
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                                                                         - jonnie.mitchell4@gmail.com 15 of 31 PageID #:
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           Forwarded message
  From : Gould , Rex < Rex.Gould@ssmhealth.com >
  Date : Fri, Jul 21 , 2023 , 9:13 AM
 Subject: SLUH Separation Notice
 To : jonnie.mitchell4@gmail.com <jonnie.mitchell4@gmail.com >



 Dear Mary,


 As you have been previously informed , all of your available leave options were exhausted effective November 15, 2022 , as such, your
 employment was not protected beyond that date . On or about June 09, 2023, you were asked to provide complete contact information for
 any individuals who could provide information regarding work restrictions that may be required for your return to work. To date you have
 not provided the requested complete contact information . Therefore, your employment with SSM Saint Louis University Hospital is being
 terminated effective July 19 , 2023 .


 If you have any questions, please contact me .


 Rex Gould | Human Resources Partner
 SSM Health Saint Louis University Hospital
 1201 S. Grand Boulevard
 St. Louis , MO 63104
 314-257-2343
 Rex.Gould@ssmhealth.com | ssmhealth.com




https://mail.google.com/mail/u/0/#search/rex/FMfcgzGtwMVWCsxXMLwVblgHNJtmVNNz                                                               1/1
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                      NOTICE THAT A COMPLAINT HAS BEEN FILED

January 15, 2025

Mary Pitts
1932 Sidney Street
Apt. A
St. Louis, MO 63104
Via Complainant Attorney Email: Mark@ott.law

RE:     Pitts v SSM Health - Saint Louis University Hospital E-01/24-56638; 28E-2025-00257

This is to inform you the enclosed complaint alleging employment discrimination has been dually filed with the
Missouri Commission on Human Rights (MCHR) and the federal Equal Employment Opportunity Commission
(EEOC). Please keep this letter for future reference.

This complaint will be investigated by the EEOC. You are encouraged to cooperate fully in the investigation.
An investigator from that agency will be in contact with you.

The Missouri Human Rights Act provides that you may request a right to sue letter. Such a letter would allow
you to file suit in state court against the Respondent named in your complaint using your own resources.
MCHR closes its case when it issues a right to sue letter.

If MCHR adopts EEOC’s finding and closes your complaint, then you will not be able to get a right to sue letter
from MCHR. If you want a right to sue letter, then you may request one in writing at any time. If you request a
right to sue letter and MCHR has not completed its administrative processing of your complaint after it has been
on file for over 180 days, then MCHR will issue your right to sue letter.

If you have any questions, please email: pittsvssmhealthsluhospitalz3370031@missouri-dolir.filevinegov.com.
Thank you.

Enclosures: copy of complaint, General information Sheet

NOTICE OF STATUTE PROHIBITING RETALIATION
It shall be an unlawful practice for any employer, labor organization, or employment agency to discharge, expel,
or otherwise discriminate against any person because he or she has opposed any practices forbidden under the
law or because he or she has filed a complaint, testified, or assisted in any proceeding under Chapter 213, RSMo.
as amended.
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                      NOTICE THAT A COMPLAINT HAS BEEN FILED

January 15, 2025

Mark E. Blankenship Jr.
3544 Oxford Boulevard
Maplewood, MO 63143
Mark@ott.law

RE:     Pitts v SSM Health - Saint Louis University Hospital E-01/24-56638; 28E-2025-00257

Dear Mark E. Blankenship:

This is to inform you the enclosed complaint alleging employment discrimination has been dually filed with the
Missouri Commission on Human Rights (MCHR) and the federal Equal Employment Opportunity Commission
(EEOC). Please keep this letter for future reference.

This complaint will be investigated by the EEOC. You are encouraged to cooperate fully in the investigation.
An investigator from that agency will be in contact with you.

The Missouri Human Rights Act provides that you may request a right to sue letter. Such a letter would allow you
to file suit in state court against the Respondent named in your complaint using your own resources. MCHR
closes its case when it issues a right to sue letter.

If MCHR adopts EEOC’s finding and closes your complaint, then you will not be able to get a right to sue letter
from MCHR. If you want a right to sue letter, then you may request one in writing at any time. If you request a
right to sue letter and MCHR has not completed its administrative processing of your complaint after it has been
on file for over 180 days, then MCHR will issue your right to sue letter.

If you have any questions, please email: pittsvssmhealthsluhospitalz3370031@missouri-dolir.filevinegov.com.
Thank you.


Enclosures: copy of complaint, General information Sheet

NOTICE OF STATUTE PROHIBITING RETALIATION
It shall be an unlawful practice for any employer, labor organization, or employment agency to discharge, expel,
or otherwise discriminate against any person because he or she has opposed any practices forbidden under the
law or because he or she has filed a complaint, testified, or assisted in any proceeding under Chapter 213, RSMo.
as amended.
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In the
CIRCUIT COURT                                                                                 ┌                          ┐
                                                                                                   For File Stamp Only
City of St. Louis, Missouri
Mary Pitts
__________________________________________
Plaintiff/Petitioner                                   04/21/2025
                                                       _________________________
                                                       Date

vs.                                                    _________________________
                                                       Case number
SSM Health Saint Louis University Hospital
__________________________________________
Defendant/Respondent                                   _________________________
                                                       Division
                                                                                              └                          ┘
                REQUEST FOR APPOINTMENT OF PROCESS SERVER
                 Yansel Nunez
       Comes now _______________________________________________________, pursuant
                                                Requesting Party
       to Local Rule 14, requests the appointment by the Circuit Clerk of
        Tim Moore, St. Louis Pro-Serve            6614 Clayton Road #311  314-962-2222
       __________________________________________________________________________
       Name of Process Server                           Address                                         Telephone
       __________________________________________________________________________
       Name of Process Server                           Address                                         Telephone
       __________________________________________________________________________
       Name of Process Server                           Address                                         Telephone
       to serve the summons and petition in this cause on the below named parties.

       SERVE:                                                      SERVE:
       SSM Health Saint Louis University Hospital (Manager on Duty)
       ____________________________________________            ___________________________________________
       Name                                                    Name
       1201 S. Grand Blvd
       ____________________________________________            ___________________________________________
       Address                                                 Address
       St. Louis, MO 63104
       ____________________________________________            ___________________________________________
       City/State/Zip                                          City/State/Zip

       SERVE:                                                      SERVE:
       ____________________________________________                ___________________________________________
       Name                                                        Name
       ____________________________________________                ___________________________________________
       Address                                                     Address
       ____________________________________________                ___________________________________________
       City/State/Zip                                              City/State/Zip

       Appointed as requested:
       TOM KLOEPPINGER, Circuit Clerk                              /s/ Joseph Ott
                                                                   ________________________________________________
                                                                   Attorney/Plaintiff/Petitioner
                                                                   67889
                                                                   ________________________________________________
       By__________________________________________                Bar No.
           Deputy Clerk                                            3544 Oxford Blvd, Maplewood, MO 63143
                                                                   ________________________________________________
                                                                   Address
       ________________________________________                    314-293-3756
                                                                   ________________________________________________
       Date                                                        Phone No.
                                                                                      Electronically Filed - CITY OF ST LOUIS - April 21, 2025 - 03:38 PM
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RULE 14 SPECIAL PROCESS SERVERS

          1. Any person appointed by the Court or the Circuit
             Clerk to serve process must have a license issued
             pursuant to this rule to serve process.

          2. Licenses to serve process shall be issued by the
             Sheriff of the City of St. Louis if the applicant has
             met the following qualifications:

             a. Is twenty-one years of age or older;

             b. Has a high school diploma or an equivalent level
                of education;

             c. Has insurance coverage for any errors or omissions
                occurring in the service of process;
             d. Has not been convicted, pleaded guilty to or been
                found guilty of any felony, or of any misdemeanor
                involving moral turpitude; and,

             e. Has passed a training course for the service of
                process which shall be administered by the Sheriff
                of the City of St. Louis.

          3. Each applicant for a process server license under the
             provisions of this rule shall provide an affidavit
             setting forth such person's legal name, current
             address, any other occupations and current telephone
             numbers. Licensed process servers shall immediately
             notify the Sheriff of the City of St. Louis of any
             change in the above information, and the failure to
             do so shall constitute good cause for the revocation
             of such person's license.

          4. The Sheriff of the City of St. Louis shall maintain a
             list of persons licensed to serve process pursuant to
             this rule, and shall make such list available to
             litigants upon request.

          5. A photo identification card designed by the Sheriff
             of the City of St. Louis shall be issued in addition
             to the license. No other identification will be
             allowed. All licenses must be signed and approved by
             the Sheriff of the City of St. Louis and the
             Presiding Judge or his designee.

          6. A license fee recommended by the Sheriff and approved
             by the Court En Banc shall be charged to cover the
             costs of compiling and maintaining the list of
             process servers and for the training of such process
             servers. The license fees shall be made payable to
             the Sheriff of the City of St. Louis.
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          7. A license for service of process issued under this
             rule may be revoked by the Sheriff with the approval
             of the Presiding Judge or his designee, for any of
             the following reasons:

             a. Misrepresentation of duty or authority;

             b. Conviction, guilty plea or finding of guilty of
                any state or federal felony, or a misdemeanor
                involving moral turpitude;

             c. Improper use of the license;

             d. Making a false return; or

             e. Any other good cause.
             Provided, no service of process made by an appointed
             process server with a revoked license shall be void
             if the Court or Circuit Clerk made the appointment in
             good faith without knowledge of the license
             revocation.

          8. Any person authorized to serve process may carry a
             concealed firearm as allowed by Section 506.145,
             RSMo, only while actually engaged in the service of
             process and only if the person has passed a firearms
             qualification test approved by a law enforcement
             agency; provided, however, that any licensed special
             process server may file a written waiver of the right
             to carry a concealed firearm and thereby avoid the
             requirements of firearm training and testing. Any
             violation of this section shall be considered beyond
             the scope of the privilege to carry a concealed
             weapon that is granted by the appointment, and shall
             constitute good cause for the revocation of the
             license.

          9. Applications for the appointment of a special process
             server shall be made on forms available in the
             offices of the Sheriff and Circuit Clerk. Orders
             Appointing special process servers may list more than
             one licensed server as alternatives.

          10. The licenses granted pursuant to this rule shall be
             good for two years. Each person granted a license
             shall be required to reapply at the expiration of the
             license and shall be required to provide all the
             information required in the initial application,
             including a current police record check.

          (Approved 9/28/92; amended 11/23/92; 5/31/95; 12/17/07)
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                        MISSOURI CIRCUIT COURT
                    TWENTY-SECOND JUDICIAL CIRCUIT
                      ST. LOUIS CITY CIRCUIT CLERK


MARY PITTS                                     Case No.

     Plaintiff                                 Div.

v.

SSM HEALTH SAINT LOUIS
UNIVERSITY HOSPITAL

     Defendant

                           ENTRY OF APPEARANCE

        COMES NOW Mark E. Blankenship Jr., an attorney at Ott Law Firm, and

hereby enters his appearance on behalf of Plaintiff in the above captioned matter.



                                             Respectfully submitted,

                                             OTT LAW FIRM



                                             _______________________
                                             Mark E. Blankenship Jr., #73123
                                             3544 Oxford Blvd
                                             Maplewood, MO 63143
                                             Telephone: (314) 293-3756
                                             Facsimile: (314) 689-0080
                                             mark@ott.law
                                             Attorneys for Plaintiff




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                                         35                        2522-CC00728

                        MISSOURI CIRCUIT COURT
                    TWENTY-SECOND JUDICIAL CIRCUIT
                      ST. LOUIS CITY CIRCUIT CLERK


MARY PITTS                                     Case No.

     Plaintiff                                 Div.

v.

SSM HEALTH SAINT LOUIS
UNIVERSITY HOSPITAL

     Defendant

                           ENTRY OF APPEARANCE

        COMES NOW Joseph A. Ott, an attorney at Ott Law Firm, and hereby

enters his appearance on behalf of Plaintiff in the above captioned matter.



                                             Respectfully submitted,

                                             OTT LAW FIRM



                                              _______________________
                                             Joseph A. Ott, #67889
                                             3544 Oxford Blvd
                                             Maplewood, MO 63143
                                             Telephone: (314) 293-3756
                                             Facsimile: (314) 689-0080
                                             joe@ott.law
                                             Attorneys for Plaintiff




                                         1
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               Summons in Civil Case
               IN THE 22ND JUDICIAL CIRCUIT, CITY OF ST LOUIS, MISSOURI

 Judge or Division:                                       Case Number: 2522-CC00728
 CHRISTOPHER EDWARD
 MCGRAUGH
 Plaintiff/Petitioner:                                 Plaintiff’s/Petitioner’s Attorney/Address
 MARY PITTS                                            MARK EDWARD BLANKENSHIP
                                                       3544 OXFORD BLVD
                                                   vs. MAPLEWOOD, MO 63143
 Defendant/Respondent:                                 Court Address:
 SSM HEALTH SAINT LOUIS                                CIVIL COURTS BUILDING
 UNIVERSITY HOSPITAL                                   10 N TUCKER BLVD
 Nature of Suit:                                       SAINT LOUIS, MO 63101                                                (Date File
 CC Other Tort                                                                                                              Stamp for
                                                                                                                             Return)
 The State of Missouri to:              SSM HEALTH SAINT LOUIS UNIVERSITY HOSPITAL
                                        Alias:
 MANAGER ON DUTY
 1201 S GRAND BLVD
 SAINT LOUIS, MO 63104


You are summoned to appear before this court and to file your pleading to the petition, a copy of which
is attached, and to serve a copy of your pleading upon the attorney for plaintiff/petitioner at the above
address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to file
your pleading, judgment by default may be taken against you for the relief demanded in the petition.

             COURT SEAL OF


                                                                April 22, 2025
                                                                     Date                                         Clerk

            CITY OF ST LOUIS

Further Information:




SJRC (07-24) SM30 (SMCC) For Court Use Only: Document ID # 25-SMCC-2265 1 of 2 (2522-CC00728)    Civil Procedure Form No. 1, SCR 54.01 – 54.05,
                                                                                        54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
           Case: 4:25-cv-00894-MTS                 Doc. #: 1-3        Filed: 06/18/25           Page: 31 of 31 PageID #:
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                                                                                              Case Number: 2522-CC00728

                                                   Officer’s or Server’s Return
Note to serving officer: Service should be returned to the court within 30 days after the date of issue.

I certify that I have served the above Summons by: (check one)
      delivering a copy of the summons and petition to the defendant/respondent.
      leaving a copy of the summons and petition at the dwelling house or usual place of abode of the
      defendant/respondent with _________________________________________________________,
      a person at least 18 years of age residing therein.
      (for service on a corporation) delivering a copy of the summons and petition to:
      ________________________________________ (name) ___________________________ (title).

      other: __________________________________________________________________________.

Served at __________________________________________________________________ (address)
in ______________________________ (County/City of St. Louis), MO, on __________________ (date)
at _____________ (time).

_______________________________________                                _________________________________________
      Printed Name of Officer or Server                                        Signature of Officer or Server


                                Must be sworn before a notary public if not served by an authorized officer.
                                Subscribed and sworn to before me on __________________________ (date).
          (Seal)
                                My commission expires: _________________ __________________________
                                                             Date              Notary Public


Service Fees (if applicable)
Summons                   $
Non Est                   $
Sheriff’s Deputy Salary
Supplemental Surcharge $                      10.00
Mileage                   $                                  (______ miles @ $.______ per mile)
Total                     $


A copy of the summons and petition must be served on each defendant/respondent. For methods of
service on all classes of suits, see Supreme Court Rule 54.




SJRC (07-24) SM30 (SMCC) For Court Use Only: Document ID # 25-SMCC-2265 2 of 2 (2522-CC00728)    Civil Procedure Form No. 1, SCR 54.01 – 54.05,
                                                                                        54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
